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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

TEXAS TRIBUNE, et al.,                             §
                                                   §
               Plaintiffs,                         §
                                                   §
v.                                                 §                   1:23-CV-910-RP
                                                   §
CALDWELL COUNTY, TEXAS, et al.,                    §
                                                   §
               Defendants.                         §

            ORDER RESETTING PRELIMINARY INJUNCTION HEARING

       Pursuant to the email communications from Plaintiffs’ counsel representing that the parties

wish to reschedule the preliminary injunction hearing, IT IS ORDERED that the November 29,

2023 preliminary injunction hearing is VACATED.

       IT IS FURTHER ORDERED that the preliminary injunction hearing is reset for

Tuesday, December 12, 2023 at 9:00 a.m. in Courtroom 4, on the Fifth Floor, United States

Courthouse, 501 West Fifth Street, Austin, TX. The Court will hear arguments from both sides on

the motion for preliminary injunction and, if the parties desire, on the motion to dismiss. If any

party anticipates calling one or more witnesses to testify, please notify Courtroom Deputy Julie

Golden in advance of the hearing.

       SIGNED on November 27, 2023.


                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
